             Case 2:10-cr-00494-JCM-GWF      Document 66   Filed 10/04/12                            Page 1 of 2
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         6                          UN ITED STAT ES DISTR IC T C O U RT
         7                                  DISTRICT O F NEVADA

         8 UNITED STATES OF AMERICA,                  )
                                                      )
        9                      Plaintiff,             )
                                                      )
        10         v.                                 )          2:l0-CR-494-GMN-(GWF)
                                                      )
        1l M AURJCIO LOPEZ,                           )
                                                      )
        12                     Defendant.             )
        13                                  ORDER O F FORFEITURE
    '
        14         ThisCourtfotmdon M arch7,2012,thatM AURICIO LOPEZ shallpayacriminalforfeiture

        15 moneyjudgmentof$206,522.90inUnitedStatesCurrency,pursuanttoFed.R,Crim .P.32.2(b)(1)
        16 and(2);Titlel8,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section
        17 246l(c);andTitle18,United StatesCode,Section982(a)(2)(A).OrderofForfeiture,ECFNo.58.
        18         THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

        19 Statesrecoverfrom MAURICIO LOPEZ acriminalforfeituremoneyjudgmentin theamountof
    20 $206,522.90inUnited StatesCurrencypursu'
                                              mttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,
    21 United StatesCode,Section982(a)(2)(A);Title 18,United StatesCode,Section981(a)(1)(C)and
    22 Title28,UnitedStatesCode,Section2461(c);andTitle21,United StatesCode,Section 853(p).                                l
    23             DATEDthis YX dayof Cclbe.
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                             U.S.v.M auricio Lopez
                            2:10-cr-00494-G M N-GW F
                                 Restitution List




US Bank                                    $252,072.06
U.S.Bank Corporate Security
Recovery and Restitution payments
PO Box 65O
M ilwaukee,W I53278-0650
re:6830016777
